                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:03CR219-1-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                                ORDER
                                    )
ANEWA TIARI-EL,                     )
____________________________________)

        This matter is before the court on the government's request for an extension of time to file
a response to the defendant's Supplemental Memorandum in Support of the Motion for Judgment
of Acquittal.
        IT IS THEREFORE ORDERED that the government shall have until June 8, 2007 to file
its response.

                                                 Signed: May 30, 2007




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